

Freling v State of New York (2018 NY Slip Op 02043)





Freling v State of New York


2018 NY Slip Op 02043


Decided on March 23, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 23, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., SMITH, LINDLEY, DEJOSEPH, AND CURRAN, JJ.


133 CA 17-00876

[*1]ANNALISE C. FRELING, CLAIMANT-APPELLANT,
vSTATE OF NEW YORK, DEFENDANT-RESPONDENT. (CLAIM NO. 125347.) (APPEAL NO. 2.) 






LAW OFFICES OF JOHN P. BARTOLOMEI &amp; ASSOCIATES, NIAGARA FALLS (MATTHEW J. BIRD OF COUNSEL), FOR CLAIMANT-APPELLANT. 
ERIC T. SCHNEIDERMAN, ATTORNEY GENERAL, ALBANY (ROBERT M. GOLDFARB OF COUNSEL), FOR DEFENDANT-RESPONDENT. 


	Appeal from an order of the Court of Claims (Michael E. Hudson, J.), entered July 5, 2016. The order granted the pre-answer motion of defendant to dismiss the claim and denied the cross motion of claimant seeking, inter alia, to file a late claim. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Snickles v State of New York ([appeal No. 1] — AD3d — [Mar. 23, 2018] [4th Dept 2018]).
Entered: March 23, 2018
Mark W. Bennett
Clerk of the Court








